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   7   METAQUOTES LTD. and
       METAQUOTES SOFTWARE CORP.
   8
                             UNITED STATES DISTRICT COURT
   9
                            CENTRAL DISTRICT OF CALIFORNIA
  10

  11 METAQUOTES LTD., a Republic of          Case No.:
     Cyprus limited corporation, and
  12 METAQUOTES SOFTWARE CORP., a COMPLAINT FOR DAMAGES
     Commonwealth of the Bahamas             AND INJUNCTIVE RELIEF FOR:
  13 corporation,
                                               1. TRADEMARK
  14              Plaintiffs,
                                               INFRINGEMENT, 15 U.S.C. §
  15       vs.                                 1114;
                                               2. FALSE DESIGNATION OF
  16 METAQUOTES SOFTWARE CORP., a
     California corporation, STANDARD          ORIGIN, 15 U.S.C. § 1125;
  17 FINTECH CONSULTING, INC., a               3. FALSE ADVERTISING, 15
     California corporation, FXCA              U.S.C. § 1125;
  18 MARKETS LIMITED, a dissolved
     California corporation, PEIJIE LIU, an    4. CALIFORNIA UNFAIR
  19 individual, and JIAN HE, an individual,   COMPETITION, CAL. BUS. &
     and DOES 1-20, inclusive,                 PROF. CODE § 17200 ET SEQ.;
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                  Defendants.                  5. UNJUST ENRICHMENT
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                                                   DEMAND FOR JURY TRIAL
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       COMPLAINT FOR DAMAGES AND INJUNCTIVE RELIEF; Case No.: Case No.:
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   1                                   INTRODUCTION
   2         1.     Plaintiffs, MetaQuotes Ltd. and MetaQuotes Software Corp.,
   3   (collectively “Plaintiffs,” the “Company,” or the “Real MetaQuotes”), bring this
   4   Complaint to stop Defendants, MetaQuotes Software Corp. (“Counterfeit
   5   MetaQuotes”), Standard Fintech Consulting, Inc. (“Fintech”), FXCA Markets
   6   Limited (“Counterfeit FXCA”) Peijie Liu (“Liu”), and Jian He (“He”) (collectively
   7   “Defendants” or the “Counterfeiters”), from using Plaintiffs’ trademark as part of a
   8   criminal enterprise to confuse the Real MetaQuotes customers into unintentionally
   9   paying money to the Counterfeit MetaQuotes and to immediately freeze the assets
  10   of Counterfeit MetaQuotes’, Counterfeit FXCA, Peijie Lu, and Jian He.
  11         2.     Masterminded by international criminal actors, the Counterfeit
  12   MetaQuotes has no legitimate business activities, let alone any justification for
  13   infringing on Plaintiffs’ trademark. The Counterfeit MetaQuotes exists for one
  14   purpose, and one purpose alone: to confuse consumers set on doing business with
  15   the Real MetaQuotes into accidentally giving their money to the Counterfeit
  16   MetaQuotes so that the Counterfeiters can line their pockets with the ill-gotten
  17   gains of their nefarious scheme. Counterfeit MetaQuotes has caused substantial
  18   harm and may be continuing to confuse and defraud consumers. Indeed, if
  19   Counterfeit MetaQuotes is allowed to continue, its actions will further irreparably
  20   cause harm to the Real MetaQuotes.
  21         3.     This case is simple and straightforward. Counterfeit MetaQuotes has
  22   no legitimate business operations and exists solely to carry out a criminal
  23   enterprise. By this Complaint, the accompanying ex parte application for a
  24   temporary restraining order, and the forthcoming preliminary injunction, the Real
  25   MetaQuotes is seeking swift action to restrain Defendants and to prevent them
  26   from escaping with their ill-gotten gains.
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  28   ///
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   1                                      THE PARTIES
   2         4.      Plaintiff, MetaQuotes Ltd., is an entity organized under the laws of the
   3   Republic of Cyprus. It is incorporated in Cyprus with registration number HE
   4   369946. Its headquarters is located in Cyprus, a European Union member country.
   5         5.      Plaintiff, MetaQuotes Software Corp., is an entity organized under the
   6   laws of the Commonwealth of the Bahamas. It is incorporated in the Bahamas
   7   with registration number 116672 B. Its headquarters is located in the Bahamas.
   8   MetaQuotes Software Corp. and MetaQuotes Ltd. share the same founding
   9   members.
  10         6.      Defendant, MetaQuotes Software Corp., is an entity organized under
  11   the laws of the state of California with its principle place of business located at
  12   3300 Irvine Ave, Suite 220, Newport Beach, California 92660. The registered
  13   agent for service of process is Peijie Liu located at the same address.
  14         7.      Defendant, Standard Fintech Consulting, Inc. (“Fintech”), is an entity
  15   organized under the laws of the state of California, with its principle place of
  16   business located at 3300 Irvine Ave, Ste 220, Newport Beach, California 92660.
  17   The registered agent for service of process is Jian He located at 1206 Dorothy
  18   Lane, Fullerton, California 92831.
  19         8.      Defendant, FXCA Markets Limited, was an entity organized under the
  20   laws of the state of California, with its principle place of business located at 3300
  21   Irvine Ave, Ste 220, Newport Beach, California 92660. It filed a Certificate of
  22   Dissolution with the California Secretary of State on January 10, 2022. The acts
  23   alleged below involving this defendant occurred prior to dissolution. The last
  24   known registered agent for service of process is Shanfa Guo located at the same
  25   address.
  26         9.      Defendant, Peijie Liu, is an individual residing in the state of
  27   California.
  28         10.     Defendant, Jian He, is an individual residing in the state of California.
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       COMPLAINT FOR DAMAGES AND INJUNCTIVE RELIEF; Case No.:
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   1         11.    On information and belief, both Counterfeit MetaQuotes, Counterfeit
   2   FXCA, and Fintech are wholly owned and operated by Liu and He.
   3         12.    Plaintiffs do not know the true names and capacities of defendants
   4   sued herein as Does 1 through 20, inclusive, and therefore sues these defendants by
   5   such fictitious names. Plaintiffs will amend this complaint to allege their true
   6   names and capacities when ascertained. Plaintiffs are informed and believes and
   7 thereon alleges that each of the fictitiously named defendants is responsible in

   8 some manner for the occurrences herein alleged, and that Plaintiffs’ damages as

   9 herein alleged were proximately caused by their conduct.

  10         13.    Each defendant sued in this complaint acted as the agent or employee
  11 of every other defendant. Any reference in this complaint to “defendant,”

  12 “defendants,” or to an individually-named defendant, also refers to each and every

  13 defendant, including Does 1 through 20.

  14         14.    On information and belief, defendants entered into a conspiracy in
  15 furtherance of the wrongful acts alleged in this Complaint. Each defendant was

  16 aware that the other defendants planned to commit these wrongful acts. Each

  17 defendant agreed with the other defendants, and intended that these acts be

  18 committed.

  19         15.    On information and belief, each defendant aided and abetted the other
  20 defendants in the commission of the wrongful acts alleged in this Complaint. Each

  21 defendant knew that the wrongful acts alleged in this Complaint were committed

  22 by the other defendants against plaintiff. Each defendant gave substantial

  23 assistance and encouragement to the other defendants in furtherance of these

  24 alleged acts. Each defendant’s conduct was a substantial factor in causing harm to

  25 Plaintiffs.

  26                            JURISDICTION AND VENUE
  27         16.    This Court has subject matter jurisdiction over the Lanham Act claims
  28   asserted herein pursuant to 28 U.S.C. §§ 1331 and 1338(a). This Court has subject
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   1   matter jurisdiction over the related state law claims raised in this action pursuant to
   2   28 U.S.C. §§ 1338(b) and 1367.
   3         17.     This Court also has subject matter jurisdiction under 28 U.S.C. §
   4   1332(b), as both Plaintiffs are residents with principle places of business outside of
   5   the United States and a subject of a foreign state, and the amount in controversy
   6   exceeds $75,000, exclusive of interest and costs.
   7         18.     Venue is proper in this District pursuant to 28 U.S.C. § 1391(b)(1), (2)
   8   or (3). As to 28 U.S.C. § 1391(b)(1), this is the District in which one or more
   9   Defendants resides, specifically Counterfeit MetaQuotes, and all Defendants are
  10   residents of the State in which the district is located. Every Defendant is subject to
  11   the Court’s personal jurisdiction with respect to this action under 28 U.S.C. §
  12   1391(c)(2).
  13         19.     With respect to 28 U.S.C. § 1391(b)(2), a “substantial part of the
  14   events … giving rise to the claim[s] occurred” in this District given that, inter alia,
  15   Defendants have conducted the acts complained of in this action, including, among
  16   other things, infringing Plaintiffs’ marks and engaging in acts of unfair
  17   competition, from its principle place of business in California and as a California
  18   corporation operating within the state.
  19         20.     Personal jurisdiction is proper for numerous reasons. First,
  20   Counterfeit MetaQuotes and Counterfeit FXCA are corporations registered in the
  21   State of California that have executed the tortious acts alleged in this complaint
  22   through their transactions in the state. Moreover, on information and belief,
  23   Defendants intend to continue their tortious and infringing acts through future
  24   transactions in the state. Second, on information and belief, Liu and He are
  25   officers, owners, and employees of Counterfeit MetaQuotes and Counterfeit
  26   FXCA, as well as residents in the state of California. Third, Fintech is a company
  27   registered and conducting business in the state of California and supports, aids, and
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   1   abets the tortious acts carried out by the other defendants by processing
   2   transactions on behalf of Counterfeit MetaQuotes from inside California.
   3                              FACTUAL ALLEGATIONS
   4                                  The Real MetaQuotes
   5         21.    MetaQuotes Software Corp. (the “Real MetaQuotes”) is an IT
   6   company established in the Bahamas in 2000. It specializes in the design and
   7   development of computer software programs with a particular emphasis on the
   8   field of foreign exchange trading software (“Online Trading Software”) as well as
   9   other financial instruments used in connection with international financial markets.
  10   MetaQuotes Software Corp. was incorporated in the Bahamas in 2000 with
  11   registration number 116672 B. It was MetaQuotes Software Corp. that developed
  12   a series of entry level trading platforms in the early 2000s, and later developed
  13   MetaTrader 4 (“MT4”) and MetaTrader 5 (“MT5”) Online Trading Platforms.
  14         22.    MetaQuotes Ltd. was founded in 2017 as Finteza Ltd. and
  15   incorporated in Cyprus, a European Union member country, on May 29, 2017,
  16   with registration number HE 369946. Finteza changed its name to MetaQuotes
  17   Ltd. in 2019 and filed a Certificate of Change of Name with the Registrar of
  18   Companies in Cyprus on July 26, 2019. At the end of 2020, MetaQuotes Ltd.
  19   acquired all intellectual property rights arising out or in connection with the
  20   software and all other related intellectual property rights from MetaQuotes
  21   Software Corp. MetaQuotes Ltd. has exclusive right of marketing and distribution,
  22   worldwide, of the computer software designed and developed by the MetaQuotes
  23   Software Corp. The MetaQuotes Ltd. website is located at
  24   http://www.metaquotes.net.
  25         23.    MetaQuotes Software Corp. is the legal entity that was used to
  26   manage operations from 2000 through 2020, while MetaQuotes Ltd. is the legal
  27   entity that has managed the company’s operations since 2021. Currently, all of the
  28   Company’s intellectual property rights are held by MetaQuotes Ltd., although
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   1   MetaQuotes Software Corp. still has certain licence agreements in place with
   2   customers.
   3         24.     The Real MetaQuotes has three trademarks that have been registered
   4 in the United States with the United States Patent and Trademark Office. They are:

   5         a.     “MetaQuotes Software” class 09, 42: application made on May 15,
   6                2014 (U.S. Serial No. 79150145) and registered on June 2, 2015 (U.S.
   7                Registration No. 4745695);
   8         b.     “MetaQuotes” Class 09, 42: application was made on May 16, 2014
   9                (U.S. Serial No. 79149674), and registered on June 9, 2015 (U.S.
  10                Registration No. 4750105); and
  11         c.     “MetaQuotes” Class 36, 38, 41: application was made on November
  12                14, 2019 (U.S. Serial No. 79278103) and registered on January 5,
  13                2021 (U.S. Registration No. 6235880).
  14         25.    The trademarks “MetaTrader,” “MQL4,” “MQL5,” and “MetaTrader
  15 5” have been registered with the World Intellectual Property Organization

  16 (“WIPO”) and are owned by MetaQuotes Software Corp. The following are the

  17 Company’s WIPO certificates: (1) WIPO # 957372, on the commercial the

  18 “MetaTrader” label; (2) WIPO # 986555, for the mark “MQL4;” (3) WIPO #

  19 1023842, for the mark “MQL5;” and (4) WIPO # 1045019, on the commercial

  20 mark “MetaTrader 5.”

  21         26.    The Real MetaQuotes’ products and services have garnered a
  22 significant amount of goodwill in the international financial services marketplace.

  23 The Real MetaQuotes’ products offer unique features with superior functionality

  24 and security in connection with the transfer of information and data. To date, the

  25 Real MetaQuotes has transacted business with more than 2,000 brokers, and more

  26 than 10,000,000 end users use the MetaTrader Online Trading Platforms. Millions

  27 of investors have funds with brokerages and financial institutions that rely on the

  28 Real MetaQuotes’ products and services. The Company’s customers include some

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   1   of the world’s largest banking and financial institutions, both inside and outside of
   2   the United States.
   3         27.    The Real MetaQuotes has invested large sums of money in developing
   4   and delivering its software programs to clients. Furthermore, the Company has
   5   expended substantial amounts of time in developing its product and service
   6   offerings. Its product and service offerings reflect and contain the Company’s
   7   twenty-two (22) years of accumulated research, investment, and know-how. The
   8   Company has also invested a great deal of money, time, and energy in cultivating
   9 goodwill in the METAQUOTES and METAQUOTES SOFTWARE marks, which

  10 have become synonymous with the Company and its high-quality products and

  11 services. Cumulatively, the Real MetaQuotes’ efforts have helped the Company

  12 gain an international reputation as a well-regarded and quality company offering

  13 software and computer programs, which are considered some of the most reliable

  14   and secure for users in the relevant industries
  15         28.     Among other product and service offerings, the Company is
  16   internationally recognized as the registered owner of two separate online trading
  17   platforms—MetaTrader 4 (MT4) and MetaTrader 5 (MT5). These platforms were
  18   considered revolutionary when they were first deployed by investment firms,
  19   traders, and investors throughout the world, which gradually made the Real
  20   MetaQuotes a market leader and built the Company’s reputation as an innovator in
  21   the financial trading marketplace.
  22         29.    MT4, released in 2005, used a newly developed programming
  23   language called MQL4. MT4 created, for the first time, the possibility for end-
  24   users to create automated trading systems and indicators, and to use them
  25   depending on their individual strategy and risk tolerances.
  26         30.    MT5, released in 2010, is used to conduct transactions in stocks,
  27   foreign exchanges, contracts for differences (“CFD”), futures and other financial
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   1   instruments, and contains new functions and options based on a new version of the
   2   programming language called MQL5.
   3         31.     Both the MT4 and MT5 platforms are comprised of two separate
   4   functions: the Server and Client Terminal.
   5         32.     The Client Terminal is offered to end users and other traders without
   6   any required fees, so long as they have accepted the terms of the Company’s End
   7   User License Agreement (the “EULA”). The Client Terminal is a user-friendly
   8   program that can be downloaded and installed on a computer and allows an end
   9   user or trader to, among other things, create automated trading applications.
  10         33.     The Server part of the MetaTrader 4 and MetaTrader 5 online trading
  11   platforms allows access to the software offered to banking institutions and
  12   investment firms on the basis of a license agreement between them and the Real
  13   MetaQuotes.
  14         34.     Under such license agreements, the counterparties are afforded certain
  15   enumerated limited rights to use the platform, having acknowledged that the
  16   software platforms are the result of MetaQuotes Software Corp.’s intellectual
  17   creation and protected by the Company’s intellectual property rights. In addition,
  18   end-users and clients are prohibited from assigning or transferring the limited use
  19   rights conferred by the EULA and the software license agreement respectively,
  20   without obtaining prior written permission from the Company. Clients are granted
  21   the license to use the trading platforms for a specified period of time and may be
  22   renewed.
  23                 The Counterfeit MetaQuotes and Counterfeit FXCA
  24         35.     The corporate information filed with the California Secretary of State
  25   for defendant, Metaquotes Software Corp., states that its address is 3300 Irvine
  26   Ave, Suite 220, Newport Beach, California 92660, and lists defendant Liu as its
  27   current agent for service of process at the same address. In the original Articles of
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    1   Incorporation, the agent for service of process was listed as defendant He, located
    2   at 1206 Dorothy Lane, Fullerton, California 92831.
    3         36.    The corporate information filed with the California Secretary of State
    4   for defendant, FXCA Markets Limited, states that its address is 3300 Irvine Ave,
    5   Suite 220, Newport Beach, California 92660, and lists Shanfa Guo as its current
    6   agent for service of process at the same address. In the original Articles of
    7   Incorporation, the agent for service of process was listed as defendant He, located
    8   at 1206 Dorothy Lane, Fullerton, California 92831
    9         37.    Starting in 2015, He began committing acts of software hacking and
   10   piracy against MetaQuotes Software Corp.’s systems in China, including, among
   11   other wrongful acts, hacking and selling pirated copies of the Company’s software
   12   technology, namely the MT4 and MT5 online trading platforms. On information
   13   and belief, He’s operations were seized by Chinese police in 2017 and several of
   14 He’s staff were arrested and later convicted on a wide range of criminal charges.

   15 On information and belief, He was able to evade Chinese Police capture, fled to

   16 Hong Kong and then onto the United States. On information and belief, He is

   17 considered a fugitive and still wanted by the police in Hebei Province, China, and a

   18 warrant has been issued in China for his arrest.

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   20   (Fugitive Person Registration Form for Mr. Jian He.)
   21         38.   The Real MetaQuotes is also now aware that He was the owner of a
   22   company named UGL Exchange Ltd. (“UGL”), registered in Cyprus, which was a
   23   client of the Real MetaQuotes from September 2017 to December 2020. UGL was
   24   terminated as a client because the Real MetaQuotes became suspicious that the
   25   company was engaging in fraudulent activity and UGL’s refusal to cooperate with
   26 the Real MetaQuotes to address these concerns. He’s, and his associates’, time as

   27 a Real MetaQuotes client allowed them an opportunity to gain experience and

   28 knowledge into the Company’s client operations, including its billing procedures,

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    1   invoicing and payment processes, and the use of the Company’s ordering and
    2   technical support websites. The Real MetaQuotes was not aware that the Jian He
    3   who served as a director of UGL was the same Jian He involved in the acts of
    4   software hacking and piracy against MetaQuotes Software Corp.’s systems in
    5   China until after UGL was terminated as a Real MetaQuotes client.
    6         39.   Starting in or before June 2021, which was subsequent to the Real
    7   MetaQuotes terminating UGL as a client, He began an undertaking to defraud
    8   clients and potential clients of the Real MetaQuotes by having them transfer
    9   money to He under false pretenses. This was accomplished by registering a
   10   California corporation named “MetaQuotes Software Corp.,” (i.e., the Counterfeit
   11   MetaQuotes) in June 2021, and another California corporation “FXCA Markets
   12   Limited” (i.e., the Counterfeit FXCA), in July 2021. FXCA Markets Limited (the
   13   “Real FXCA”), though, is a company located Hong Kong engaged in the
   14   international finance markets. The California corporation registered by He with
   15   same name is a counterfeit of the Real FXCA. He also utilized another company
   16   in his deception—Fintech—that was incorporated in California in August 2019
   17   (“Counterfeit FinTech”). He created a fake invoice using the Counterfeit Fintech
   18   name which then billed a client for MT4 and MT5 services.
   19         40.   He created fake email addresses at or around the same time of June,
   20   2021 with domain extensions that were meant to deceive clients into believing
   21   emails that were sent by He actually originated with either the Real FXCA or the
   22   Real MetaQuotes depending on who he was posing as during correspondence.
   23   Examples of the fake email addresses include: “mia@fxcamarket.com,”
   24   “admin@fxcamarket.com,” and support@metaquotesmt5.com.
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        COMPLAINT FOR DAMAGES AND INJUNCTIVE RELIEF; Case No.:
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    1         41.    After setting up the companies meant to impersonate the Real FXCA
    2   and the Real MetaQuotes, He, either on his own or with the help of associates in
    3   Cyprus, defrauded a Real MetaQuotes’ client – the Real FXCA – by posing as a
    4   Real MetaQuotes’ representative offering access to the Real MetaQuotes software
    5   platform. After making this offer, He, or in conjunction with his associates in
    6   Cyprus, also posed as an employee of the Real FXCA to the Real MetaQuotes. By
    7   using the fake email addresses listed above, He deceived the Real MetaQuotes into
    8   believing it had entered into an agreement with the Real FXCA. Indeed, He signed
    9   the agreement on FXCA’s behalf by posing as the company’s Chief Executive
   10   Officer, Suzu Tomokazu.
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              42.    After consummating the business relationship using false presence,
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        the Real MetaQuotes began sending He invoices, when the Real MetaQuotes
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        thought that the invoices were being sent directly to the Real FXCA.
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              43.    He then turned around and sent doctored invoices to the Real FXCA,
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        switching back to his original role and again posing as a representative of the Real
   24
        MetaQuotes. As part of that ruse, He used the Real MetaQuotes’ trademark and
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        logo to help convince the Real FXCA that the invoices were legitimate.
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              44.    To summarize the scheme, the Real MetaQuotes and the Real FXCA
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        believed they were transacting with one another, but in reality they were
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    1   transacting through He and his counterfeit entities impersonating the other parties
    2   to the transaction.
    3          45.    By manipulating the two companies with different sell and buy prices,
    4   He was able to deceive the Real FXCA into believing that the price was almost
    5   $170,000 for software access from June to December, 2021, and to send that
    6   amount to bank accounts in the United States belonging to the Counterfeit
    7   MetaQuotes. In actuality, the Real MetaQuotes only charged $60,000 for the
    8   license used by the Real FXCA during that time frame, an amount that was
    9   transferred to the Real MetaQuotes from bank accounts in the United States
   10   belonging to the Counterfeit FXCA. He’s net “profit” from this deception was
   11   approximately $110,000 which was then deposited into bank accounts in the
   12   United States. The banks where He, the Counterfeit MetaQuotes, and the
   13   Counterfeit FXCA had accounts were unaware of, and not involved in, He’s
   14   activities.
   15          46.    On the fake invoices, He provided to the Real FXCA were the full
   16 “MetaQuotes Software Corp.” company name, logos, and the address of

   17 MetaQuotes Ltd., in Cyprus. The fraudulent invoices were sent in the same style

   18 and manner that the Real MetaQuotes provides its invoices to its clients. The

   19 invoices were sent via an email address, support@metaquotesmt5.com, that was

   20 meant to deceive the Real FXCA into believing the email originated with the Real

   21 MetaQuotes. He’s use of the trademark name “MetaQuotes” and the “mt5”

   22 addition was, on information and belief, intentionally meant to draw a false

   23 association in the mind of the client with the Real MetaQuotes’ popular

   24 “MetaTrader 5” software program.

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   22         47.   On the good faith belief that the Real FXCA was the client the Real
   23 MetaQuotes had entered into license agreement and invoiced, the Real MetaQuotes

   24 granted a license to He for the MetaTrader 5 platform. He then forwarded the

   25 required information to the Real FXCA to start using the platform in the same

   26 manner the Real MetaQuotes would have done with any normal client. From June

   27 to December, 2021, He and his associates assisted the Real FXCA with the setup

   28 of the MetaTrader 5 platform, including receiving questions and requests from the

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    1   Real FXCA and passing them along to the Real MetaQuotes, who in turn would
    2   reply believing they were corresponding with the Real FXCA. As a result of He’s
    3   deception, both the Real FXCA and the Real MetaQuotes believed that they were
    4   dealing directly with one another, when in reality He was posing as both entities to
    5   maintain the ongoing deception. A diagram of the scheme is provided below:
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              48.    In December 2021, the Real FXCA became suspicious following
   17
        delayed responses from He to customer service requests. The Real FXCA found
   18
        the Real MetaQuotes’ website and contacted the Company directly for the first
   19
        time. At this point both companies discovered He’s scheme. The Real
   20
        MetaQuotes promptly began investigating He’s wrongdoing and blocked He’s
   21
        access to the Real MetaQuotes website, access that the Company had believed was
   22
        for the Real FXCA’s use since June 2021.
   23
              49.    The Real MetaQuotes can only speculate as to whether this was a one-
   24
        off scam—or if it was just the tip of the proverbial iceberg. The Real MetaQuotes
   25
        cannot even begin to imagine how many other companies have paid the
   26
        Counterfeiters for access to its platforms. Likewise, the Real MetaQuotes can only
   27
        speculate regarding how many different potential customers it lost because the
   28
        Counterfeit MetaQuotes stole its trademarks and used them in deceptive and
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    1   misleading emails and other correspondence aimed at persuading them to give the
    2   Counterfeiters their money.
    3                          The Real MetaQuotes’ Trademarks
    4         50.   The Real MetaQuotes owns the following trademarks registered with
    5 the United States Patent and Trademark Office:

    6         a.    “MetaQuotes Software,” Serial Number: 79149674, Registration
    7               Date: June 9, 2015;
    8         b.    “MetaQuotes,” Serial Number: 79150145, Registration Date: June 2,
    9               2015; and
   10         c.    “MetaQuotes,” Serial Number: 79278103, Registration Date: January
   11               5, 2021;
   12         51.   On information and belief, Defendants chose the “MetaQuotes
   13 Software Corp.” name, used the Real MetaQuotes owned trademarks, in an attempt

   14 to deceive clients into believing that the company—i.e., the Counterfeit

   15 MetaQuotes—shared some affiliation with Plaintiffs, the actual owner of the

   16 “MetaQuotes” and “MetaQuotes Software” trademarks. By choosing the

   17 “MetaQuotes” and “MetaQuotes Software” trademark, Defendants have, on

   18 information and belief, sought to freeride off the Real MetaQuotes’ goodwill with

   19 clients and with the intent to use the Real MetaQuotes’ trademarks to convince

   20 companies to invest with Defendants only to then defraud them out of large sums

   21 of money.

   22         52.   The Real MetaQuotes further alleges that Counterfeit MetaQuotes,
   23 Counterfeit FXCA, and Counterfeit Fintech, are nothing more than front

   24 organizations founded for the sole purpose of furthering He’s fraudulent and

   25 infringing acts. As such, each company is the alter-ego of He or Liu, or both. On

   26 information and belief, He and Liu are the sole owners and operators of the three

   27 entities, the entities have no separation or corporate formalities that distinguish

   28 them from He and Liu personally, and neither company has any capital, assets, or

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    1   corporate property separate and apart from He and Liu themselves. Any finding of
    2   liability against one Defendant should result in a finding of liability against all
    3   Defendants because there is no separateness between any person and any of the
    4   entities named in this Complaint.
    5         53.    Plaintiffs also allege that each of the Defendants aided and abetted the
    6   other Defendants in their commission of the wrongful acts alleged in this
    7   Complaint. Each Defendant knew that the wrongful acts alleged in this complaint
    8   were being committed by the other Defendants against Plaintiffs. Each Defendant
    9   gave substantial assistance and encouragement to the other Defendants in
   10   furtherance of these alleged acts. Each Defendant’s conduct was a substantial
   11   factor in causing harm to Plaintiffs.
   12                         FIRST CLAIM FOR RELIEF
                             Federal Trademark Infringement
   13
                                    (15 U.S.C. § 1114)
   14      Against Defendants MetaQuotes Software Corp., Jian He, and Peijie Liu
   15         54.    Plaintiffs’ incorporate by reference each of the allegations in the
   16 preceding paragraphs of this Complaint as though fully set forth here.

   17         55.    The Real MetaQuotes trademarks and the goodwill associated with
   18 them are tremendously valuable in the United States and worldwide because they

   19 are distinctive and universally associated in the public perception with the highest

   20 quality software and services in the marketplace for online trading platform

   21 technology products.

   22         56.    Defendants have sold, offered to sell, advertised, and held themselves
   23 out as employees or authorized agents of the Real MetaQuotes by, among other

   24 things, infringing the Plaintiffs’ trademarks through direct copying and use of the

   25 “MetaQuotes” and “MetaQuotes Software” word marks and logos owned by the

   26 Real MetaQuotes. Each instance of Defendants’ use of the Real MetaQuotes’

   27 trademarks in license agreements, invoices, fake email addresses, correspondence

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    1   with the Real MetaQuotes’ clients, in naming their business in California, and in
    2   other infringing contexts constitutes an infringement.
    3         57.     The Real MetaQuotes asserts on information and belief that it is
    4   relevant to client decision-making and important to clients in choosing which
    5   online trading platforms to purchase that they be able to communicate resolve
    6   service issues directly with the provider. In this case, the Real MetaQuotes’ clients
    7   value the ability to work directly with the Real MetaQuotes. Defendants’
    8   deceptive conduct in misleading both parties and injecting themselves into the
    9   middle of that relationship caused, and will continue to cause, harm to the Real
   10   MetaQuotes.
   11         58.     Defendants’ actions have caused confusion, mistake, and deception as
   12   to the origin and quality of the Real MetaQuotes’ products and services because
   13   they are intentionally calculated to mislead clients into believing they are
   14   transacting with the Real MetaQuotes, when in fact they are being misled into
   15   transacting with a sham corporation impersonating and freeriding on the Real
   16   MetaQuotes’ trademarks and its related goodwill. Defendants’ decision to infringe
   17   the Real MetaQuotes’ trademarks was done with the goal of creating the false
   18   impression that there is an association with the Real MetaQuotes, or that the Real
   19   MetaQuotes otherwise authorized a relationship between the two entities, when in
   20   fact there is none.
   21         59.     Upon information and belief, Defendants’ infringing actions were
   22   committed fraudulently, willfully, in bad faith, with the intent to mislead, and with
   23   knowledge of the Real MetaQuotes’ exclusive rights to, and goodwill in, the Real
   24   MetaQuotes trademarks, or with willful blindness to the same, and with the intent
   25   to cause confusion, to cause mistake, and/or to deceive.
   26         60.     Defendants’ unauthorized use of the Real MetaQuotes’ trademarks
   27   constitutes trademark infringement of the trademarks registered with the United
   28   States Patent and Trademark Office. Furthermore, it has caused substantial
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    1   damage to Plaintiffs and to the reputation and goodwill symbolized by the
    2   MetaQuotes trademarks in violation of Section 32 of the Lanham Act, 15 U.S.C. §
    3   1114, in an amount to be proven at trial.
    4         61.    Defendants’ conduct described above, including the unauthorized use
    5   of the Real MetaQuotes’ trademarks in interstate commerce, has directly and
    6   proximately caused substantial, irreparable injury to the Real MetaQuotes and to
    7   the business and goodwill represented by the Real MetaQuotes’ trademarks, which
    8   leaves Plaintiffs without an adequate remedy at law.
    9                        SECOND CLAIM FOR RELIEF
                            Federal False Designation of Origin
   10
                                    (15 U.S.C. § 1125)
   11      Against Defendants MetaQuotes Software Corp., Jian He, and Peijie Liu
   12         62.    Plaintiffs’ incorporate by reference each of the allegations in the
   13 preceding paragraphs of this Complaint as though fully set forth here.

   14         63.    Defendants’ actions in impersonating the Real MetaQuotes through
   15 the unauthorized and infringing use of its trademarks is likely to cause confusion,

   16 deceive, and mislead the consuming public into believing that there was some

   17 affiliation, connection, or association between Defendants and the Real

   18 MetaQuotes. It was also likely to cause confusion, mistake, or deception as to the

   19 origin, source, sponsorship, authorization, approval, or affiliation of Defendants

   20 with the Real MetaQuotes, of which there is none. Defendants’ actions, including

   21 the unauthorized use of the Real MetaQuotes’ trademarks in commerce, constitute

   22 false designation of origin, false or misleading descriptions of fact, and false or

   23 misleading representations of fact, which have caused confusion, mistake, and

   24 deception, as to Defendants’ association or affiliation with the Real MetaQuotes, as

   25 well as to the origin, source, and sponsorship of the Real MetaQuotes’ products

   26 and services, in violation of Section 43(a) of the Lanham Act, 15 U.S.C. § 1125(a).

   27         64.    Defendants’ unauthorized and misleading use of the Real
   28 MetaQuotes’ trademarks constitutes willful infringement in violation of 15 U.S.C.

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    1   § 1114(1)(b), entitling Plaintiffs to treble damages and/or enhanced statutory
    2   damages under 15 U.S.C. §§ 1117(b) and (c).
    3         65.    Defendants’ conduct has directly and proximately caused Plaintiffs to
    4   suffer damage in an amount to be proven at trial.
    5         66.    Defendants’ actions described above, including its unauthorized and
    6 misleading use of the Real MetaQuotes’ trademarks in commerce have caused

    7 substantial and irreparable injury to Plaintiffs and to the business and goodwill

    8 represented by the Real MetaQuotes’ trademarks, thereby leaving Plaintiffs

    9 without an adequate remedy at law.

   10                          THIRD CLAIM FOR RELIEF
                                 Federal False Advertising
   11
                                    (15 U.S.C. § 1125)
   12       Against Defendants MetaQuotes Software Corp., Jian He, and Peijie Liu
   13         67.    Plaintiffs’ incorporate by reference each of the allegations in the
   14 preceding paragraphs of this Complaint as though fully set forth here.

   15         68.    Defendants made, or caused to be made, false representations of fact
   16 in commercial advertisements and correspondence with the Real MetaQuotes’

   17 current and potential clients and, on information and belief, to the broader public

   18 through among other things, misleading license agreements and invoices and

   19 misleading email addresses that incorporated the Real MetaQuotes’ company name

   20 and referenced Plaintiffs’ software product with the purpose of implying that

   21 Defendants were affiliated or authorized by the Real MetaQuotes when in fact they

   22 are not.

   23         69.    The false representations made by Defendants actually deceived, and
   24 had a tendency to deceive, Plaintiffs’ current and potential customers by

   25 convincing them to transfer money to Defendants on the mistaken belief that they

   26 were dealing with Plaintiffs, and not Defendants posing as Plaintiffs.

   27 ///

   28 ///

                                               21
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    1         70.    On information and belief, the deception was material to Plaintiffs’
    2   clients in that the false representations were likely to influence their purchasing
    3   decision.
    4         71.    Defendants caused the false representations to enter interstate
    5   commerce, namely through advertising and soliciting business from at least one
    6   company in Hong Kong from California.
    7         72.    Plaintiffs have been, and are likely to be injured further, as a result of
    8   the false representations made by Defendants, and which, on information and
    9   belief, Defendants intend to continue making in violation of Section 32 of the
   10   Lanham Act, 15 U.S.C. § 1125. Unless Defendants are enjoined from such further
   11   conduct, Plaintiffs will continue to suffer harm to their reputation and substantial
   12   loss of goodwill associated with its products and services. Plaintiffs have been
   13   injured, and will continue to be injured, by Defendants false representations in an
   14   amount to be proven at trial.
   15                           FOURTH CLAIM FOR RELIEF
                                  California Unfair Competition
   16
                             (Cal. Bus. & Prof. Code §§ 17200 et seq.)
   17                                Against All Defendants
   18         73.    Plaintiffs’ incorporate by reference each of the allegations in the
   19 preceding paragraphs of this Complaint as though fully set forth here.

   20         74.    The California Unfair Competition Law (“UCL”), codified in
   21 California Business and Professions Code sections 17200 et seq., prohibits acts of

   22 unfair competition, which includes any unlawful business act or practice.

   23         75.    Defendants have knowingly, willfully, and unlawfully infringed the
   24 Real MetaQuotes’ trademarks, including through the unauthorized sale of the Real

   25 MetaQuotes’ products and services by the use of the Real MetaQuotes’ trademarks

   26 as a means to deceive, mislead, and defraud clients into purchasing from

   27 Defendants at more than three times the price charged by the Real MetaQuotes.

   28 Defendants’ infringing use of the Real MetaQuotes’ trademarks allowed them to

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    1   benefit off of the Company’s goodwill in violation of the Lanham Act, 15 U.S.C. §
    2   1114.
    3           76.   As a direct, proximate, and foreseeable result of Defendants’
    4 infringing use of the Real MetaQuotes’ trademarks, the Real MetaQuotes has been

    5 damaged by, among other things, injury to its reputation and creating confusion as

    6 to the Real MetaQuotes’ pricing, which harms the Real MetaQuotes’ ability to

    7 attract and retain new customers in a manner that harms the Real MetaQuotes’

    8 revenue.

    9           77.   Defendants’ practices were unlawful, and constitute unfair
   10 competition as defined by California Business and Professions Code sections

   11 17200 et seq. Defendants’ misconduct was unlawful because, as described herein,

   12 their misconduct constitutes violations of numerous state and federal statutes,

   13 including but not limited to state false advertising laws including California

   14 Business and Professions Code section 17500, the Lanham Act (see 15 U.S.C. §§

   15 1114 and 1125), and other common law tortious and fraudulent acts. Defendants

   16 conduct also constituted fraud under the meaning of the UCL in that a substantial

   17 portion of the public, including the Real MetaQuotes’ current and potential clients,

   18 were likely to be misled by Defendants’ false representations intended to induce

   19 them to purchase products and services from Defendants’ on the mistaken belief

   20 that Defendants were affiliated in some way to the Real MetaQuotes. Further,

   21 Defendants’ alleged conduct was unfair in that their actions, as described herein,

   22 significantly threatened and/or harmed competition through infringement, and false

   23 advertising.

   24           78.   Defendants’ actions were also fraudulent under the UCL based on
   25 their false representation that they were a legitimate business looking to purchase

   26 the Real MetaQuotes’ products and services, when in reality the representation was

   27   made to deceive the Real MetaQuotes into doing business with Jian He’s sham
   28   front business. The Real MetaQuotes would never have engaged in a business
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    1   transaction with Defendants but for their false representations. Defendants’ efforts
    2   to conceal the true nature of their scheme from the Real MetaQuotes, deceived the
    3   Company into believing that they were dealing with a real potential customer, the
    4   Real FXCA, when in fact the Company was transacting with one of Defendants’
    5   counterfeit businesses. On in formation and belief, Defendants’ deception was not
    6   just intentional, it was the object and purpose of the creation of the counterfeit
    7   businesses. Plaintiffs were harmed by this fraudulent conduct.
    8         79.    As a direct and proximate result of Defendants’ unlawful and unfair
    9   business practices, Plaintiffs have lost money and property, and have suffered
   10   irreparable injury to its brand, business reputation, and goodwill. As such, the Real
   11   MetaQuotes’ remedy at law is not adequate to compensate for the injuries inflicted
   12   by Defendants. Accordingly, Plaintiffs are entitled to temporary, preliminary, and
   13   permanent injunctive relief against Defendants, in addition to restitution in an
   14 amount to be proven at trial.
   15                          FIFTH CLAIM FOR RELIEF
                                     Unjust Enrichment
   16                                  (Common Law)
   17                               Against All Defendants
              80.    Plaintiffs’ incorporate by reference each of the allegations in the
   18
        preceding paragraphs of this Complaint as though fully set forth here.
   19
              81.    Defendants unjustly received benefits at the expense of the Real
   20
        MetaQuotes through Defendants wrongful and infringing conduct, as alleged
   21
        further above. Defendants continue to unjustly retain these benefits at the expense
   22
        of the Real MetaQuotes. The unjust receipt of the benefits obtained by Defendants
   23
        lacks any adequate legal basis and thus cannot conscientiously be retained by
   24
        Defendants. Therefore, the circumstances of the receipt and retention of such
   25
        benefits are such that, as between the Real MetaQuotes and Defendants, it is unjust
   26
        for Defendants to retain any such benefits. Equity requires that Defendants’ not be
   27
        allowed to retain their ill-gotten gains.
   28

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    1         82.          The Real MetaQuotes is therefore entitled to full restitution of all
    2   amounts and/or other benefits in which Defendants have been unjustly enriched at
    3   the Real MetaQuotes’ expense, in an amount to be proven at trial.
    4                                      PRAYER FOR RELIEF
    5         WHEREFORE, Plaintiffs’ respectfully pray for the following relief:
    6         A.           For entry of judgment in favor of Plaintiffs, and against Defendants,
    7   on each of the claims for relief alleged in this Complaint;
    8         B.           For a preliminary and permanent injunction restraining Defendants;
    9   their officers, agents, servants, employees, attorneys, and affiliated companies;
   10   assigns and successors in interest; and those persons in active concert or
   11   participation with them, from:
   12               i.        selling, offering for sale, marketing, advertising, or trafficking in
   13                         any products or services not authorized by Plaintiffs and bearing
   14                         unauthorized uses of the Plaintiffs’ marks which are likely to cause
   15                         confusion, or bearing a design that is of a substantially similar
   16                         appearance to Plaintiff marks listed in this Complaint;
   17               ii.       passing off, inducing, or enabling others to sell or pass off
   18                         themselves as employees, agents, or authorize authorized
   19                         individuals or entities with any affiliation or connection to
   20                         Plaintiffs in any way;
   21               iii.      committing any act calculated to cause clients to believe that
   22                         products and services offered by Defendants are those sold under
   23                         the control and supervision of Plaintiffs, or are sponsored,
   24                         approved, or guaranteed by Plaintiffs, or are connected with and
   25                         produced under the control or supervision of Plaintiffs; and
   26   ///
   27   ///
   28   ///
                                               25
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    1               iv.      continuing to use Plaintiffs’ METAQUOTES Trademarks in
    2                        connection with Defendants’ purported registration with the
    3                        California Secretary of State though changing the name used to
    4                        register the infringing company on the Secretary of State’s registry,
    5                        or de-registering the company from the Secretary of State’s
    6                        registry altogether.
    7          C.         For a determination that Defendants’ acts of trademark infringement
    8   constitute cases of willful infringement;
    9          D.         For actual damages as a result of Defendants’ unlawful conduct,
   10   alleged above, as well as any profits that are attributable to the alleged conduct and
   11   are not taken into account in computing Plaintiffs’ actual damages;
   12          E.         For maximum statutory damages available under the law to the extent
   13   Plaintiffs elect statutory damages for any claim for relief;
   14          F.         For punitive damages to the fullest extent available under the law;
   15          G.         For reasonable attorneys’ fees to the fullest extent available under the
   16   law;
   17          H.         For treble and/or enhanced damages to the fullest extent available
   18   under the law;
   19          I.         For full restitution, including restoration of all property unlawfully
   20   taken from Plaintiffs, as well as any ill-gotten gains from the unauthorized use of
   21   the Real MetaQuotes’ trademarks;
   22          J.         For prejudgment interest and the costs of prosecuting these claims to
   23   the fullest extent available under the law;
   24   ///
   25   ///
   26   ///
   27   ///
   28   ///
                                               26
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    1         K.    For any additional injunctive, specific performance, and/or other
    2   provisional remedies, as appropriate; and,
    3         L.    For such other and further relief as the Court deems just and proper.
    4

    5   DATED: March 28, 2022               McMANIS FAULKNER
    6                                       /s/ Matthew Schechter
                                            PATRICK HAMMON
    7                                       MATTHEW SCHECHTER
                                            ANDREW PARKHURST
    8
                                            Attorneys for Plaintiffs,
    9                                       METAQUOTES LTD. and
                                            METAQUOTES SOFTWARE CORP.
   10

   11

   12

   13                            DEMAND FOR JURY TRIAL
   14         Please take notice that Plaintiffs, MetaQuotes Ltd. and MetaQuotes Software
   15 Corp., hereby demand a trial by jury in this action as to all issues and causes of

   16 action so triable.

   17

   18

   19 DATED: March 28, 2022                 McMANIS FAULKNER
   20

   21                                       /s/ Matthew Schechter
   22
                                            PATRICK HAMMON
                                            MATTHEW SCHECHTER
   23
                                            ANDREW PARKHURST

   24
                                            Attorneys for Plaintiffs,
                                            METAQUOTES LTD. and
   25
                                            METAQUOTES SOFTWARE CORP.

   26

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